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                                               Corrected

                In the United States Court of Federal Claims
                                           No. 21-1326

                                       (Filed: June 8, 2021)

                                               )
 DAWANE ARTHUR MALLETT-EL.                     )
                                               )
                   Plaintiff,                  )
                                               )
           v.                                  )
                                               )
 UNITED STATES,                                )
                                               )
                   Defendant,                  )
                                               )
                                               )

                                    ORDER FOR DISMISSAL

        Plaintiff, who is incarcerated in Colorado, filed pro se this civil action against the United
States of America. See ECF No. 1. On May 12, 2021, the court ordered plaintiff to pay the
required filing fee or “submit the enclosed IFP application, trust fund account statement, and
Prisoner Authorization Form by May 28, 2021.” See ECF No. 6. Plaintiff was advised that if he
“fail[ed] to comply with th[e] order . . . th[e] action will be dismissed without prejudice for
failure to prosecute under Rule 41 of Rules of the Court of Federal Claims.” Id. Plaintiff
submitted an application to proceed in forma pauperis on June 2, 2021. 1 Plaintiff’s application
included the first page of the IFP application, his Prisoner Authorization Form, and inmate trust
fund account statement. Plaintiff further submitted a statement that the filing fee could be
accessed against the United States Treasury and tendered a fictitious $10,000,000 Treasury
obligation as a basis for that source of payment.

       Plaintiff’s submission of an incomplete IFP application and his tender of a fictious
Treasury obligation cannot be used to satisfy the filing fee requirement. And, as a matter of
prudence, the court additionally has considered plaintiff’s underlying claims set out in the
complaint and finds that they are not within the court’s jurisdiction. As such, plaintiff’s
complaint is DISMISSED for failure to prosecute pursuant to Rule 41 of the Rules of the Court
of Federal Claims.

       The clerk is directed to enter judgment in accord with this disposition.

       No costs.


       1Plaintiff’s application was mailed on May 18, 2021, but not received until June 1, 2021.
The court will nevertheless evaluate the application.
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It is so ORDERED.

                                   s/ Charles F. Lettow
                                   Charles F. Lettow
                                   Senior Judge




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